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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                             Case No. 20-20341

Creshaun McGee and
Dwight Perry                                   Sean F. Cox
                                               United States District Court Judge
      Defendants.
____________________________/

                                 ORDER DENYING
                        MOTION FOR JUDGMENT OF ACQUITTAL

       This matter is currently before the Court on Defendants’ oral Motion for Judgment of

Acquittal Pursuant to Rule 29.

       In considering a motion for judgment of acquittal under FED. R. CRIM. P. 29, this Court

must determine whether, after reviewing the evidence in the light most favorable to the

prosecution, any rational trier of fact could find the elements of the crime beyond a reasonable

doubt. United States v. Abner, 35 F.3d 251, 253 (6th Cir. 1994); United States v. Meyer, 359

F.3d 820, 826 (6th Cir. 1979). In doing so, the Court does not weight the evidence, consider the

credibility of witnesses, or substitute its judgment for that of the jury. Id.

       The Sixth Circuit has explained that a defendant claiming insufficiency of the evidence

“bears a very heavy burden.” Abner, 35 F.3d at 253. On review, all evidence must be construed

in a manner most favorable to the Government. Moreover, circumstantial evidence alone is

sufficient to sustain a conviction. Id.

       The Court having considered Defendants’ motion, and viewing the evidence presented in

the light most favorable to the prosecution, the Court concludes that a rational trier of fact could
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find the essential elements of each of the crimes charged beyond a reasonable doubt.

       Accordingly, IT IS ORDERED that Defendants’ Motion for Judgment of Acquittal is

DENIED.

       IT IS SO ORDERED.



                                     s/Sean F. Cox
                                     Sean F. Cox
                                     United States District Judge

Dated: October 13, 2021
